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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 Jane Doe                                        C/A:     2:23-cv-04530-RMG

                                  PLAINTIFF,
 vs.

 CITY OF NORTH CHARLESTON, and                                   COMPLAINT
 Det. Paul Schoolfield, individually an in his             (JURY TRIAL REQUESTED)
 capacity as an officer for the City of North
 Charleston

                              DEFENDANTS.



COMES NOW the Plaintiff, Ms. Jane Doe, by and through her undersigned attorneys,

complaining of the Defendants, City of North Charleston, and Detective Paul

Schoolfield and would at this time respectfully allege and aver before this Honorable

Court the following:

                                JURISDICTION AND VENUE

1. An actual and justiciable controversy exists between the parties.

2. The incident took place in the City of North Charleston, Charleston County, South

Carolina.

3. This Honorable Court has jurisdiction over the parties and the subject matters alleged

hereinafter.

4. The Plaintiff, Jane Doe (hereinafter referred to as “Jane Doe”), is a 23 year-old,

African American female, residing in the County of Charleston, State of South Carolina.

5. The Defendant, City of North Charleston (hereinafter referred to sometimes as “the

City” or collectively “Defendants”) is a municipality located in Charleston County, State



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of South Carolina. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331

and jurisdiction over the party.

6. The Defendant, Det. Paul Schoolfield, (hereinafter referred to sometimes as

“Schoolfield” or collectively “Defendants”) was a Police Detective for the City of North

Charleston Police Department and was at all relevant times hereto a resident of the

County of Charleston, State of South Carolina.

7. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

8. Accordingly, this Court properly may retain subject matter and personal jurisdiction,

and further, this Court is the proper venue.

                                   GENERAL ALLEGATIONS

9. On or about December 16, 2019, Jane Doe and a friend, Ms. J.F., attended a birthday

party in North Charleston.

10.      At 3:39 a.m. the same morning, an individual, Mr. I.R., reached out to Jane

Doe, via Facebook Messenger, inquiring if she would like to go out after the birthday

party.

11.      At 4:00 AM, Mr. I.R. confirmed he was outside, in his vehicle, and was waiting

on Jane Doe to join him.

12. Later that night, an unconscious Jane Doe was raped by I.R. and another unknown

male, who were later positively identified by Jane Doe at a North Charleston Police

Department (hereinafter “NCPD”) photo lineup.

13.      The   following   day, Jane    Doe reached       out   to Ms.   J.F. via Facebook

messenger stating her intention to go to the hospital because she believes that Mr. I.R.

and the unknown male that accompanied him had raped her.




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14.    Jane Doe believed she was raped due to the fact that when she was returned

home, she found her clothes inside out and backwards, there was blood and semen on

them, and she was experiencing vaginal pain.

15.    In addition, she remembered one of the men saying to the other, as he carried her

on his shoulder to the car, that he had “bust in her.”

16.    As the texting continued between Jane Doe and her friend, Jane Doe learned that

her friend had been in contact with Mr. I.R.

17.    Mr. I.R. initially communicated to Ms. J.F. that he and his friend had not

touched Jane Doe, but then quickly changed his story to admit that he had sex with her

but that it was consensual, and he believed Jane Doe was bringing false rape

allegations.

18.    Jane Doe took and sent a video of herself to Ms. J.F. showing her that her singlet

type jumper was inside out.

19.    Jane Doe went to the Medical University of South Carolina (hereafter “MUSC”)

and had a SANE exam completed on December 16, 2019.

20.    Jane Doe then called the Defendants to report the rape.

21.    Defendants’ intake department told Jane Doe that no report could be taken,

because Jane Doe did not know the precise location of the sexual assault/rape.

22.    Jane Doe, with no assistance from Defendants, conducted her own independent

investigation as to the precise location of the incident using her phone’s location history

and provided it to Defendants.

23.    On or about December 18, 2019, Jane Doe met with Defendant Det.

Schoolfield at NCPD for an interview to report the incident.




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24.    Jane Doe emailed Det. Schoolfield a series of screen shots, text messages, and

Facebook messages pertaining to her rape.

25.    Days after the incident Mr. I.R. reached out to Jane Doe via text message

inquiring why Jane Doe was inquiring where he lived and what his name was, all in an

effort to intimidate her.

26.    On or about December 23, 2019, Jane Doe sent an additional email and texts to

Det. Schoolfield with all the evidence she collected, but she would soon become very

frustrated by the lack of empathy, interest, and/or progress on the investigation as her

continuous calls to Schoolfield, NCPD, and the City of North Charleston were ignored.

27.    After nearly six (6) months of no update and/or progress, on or about May 5,

2020, Jane Doe reached out to Schoolfield via text message, expressing her concern

and frustration with the indifference and lack of progress made on her case.

28.    Jane Doe forwarded the same email to Schoolfield that she had sent months prior,

containing evidence of her sexual assault/rape.

29.    Jane Doe began calling Schoolfield twice a week to get an update on the

investigation.

30. Schoolfield finally responded and instructed Jane Doe that this investigation was a

“waiting game,” and that it would take SLED over a year to analyze the SANE kit, meaning

she should not expect to see rapid progress on the investigation of her rape/sexual

assault.

31.    After several more inquiries, Jane Doe was able to set up an appointment with

Det. Schoolfield at her residence, although the meeting would last less than fifteen (15)

minutes.




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32.    During that Meeting, Schoolfield instructed Plaintiff to stop calling him and NCPD

about the investigation, that they were handling it, and that they would contact her if there

was an update.

33.    On or about May 21, 2020, Jane Doe sent the same email that contained pertinent

information regarding her rape to Schoolfield and received no answer.

34.    Jane Doe would continue to reach out to Schoolfield via phone call, text and email

and there was still no response at any time.

35.   On or about February 2, 2022, Jane Doe called NCPD to speak with

Schoolfield, when she was advised that he had retired.

36. Jane Doe then requested to speak to the detective who was handling her sexual

assault case given Schoolfield’s departure from the force.

37. Jane Doe was horrified to learn that NCPD claimed it had no knowledge, incident

report or file of any case regarding her sexual assault.

38.    NCPD informed Jane Doe that no incident report or investigation report had been

taken or documented by any member of NCPD staff, including and especially,

Schoolfield.

39.    Jane Doe made an appointment with Det. Crider of NCPD.

40.    When Det. Crider was unavailable to meet with her, Jane Doe met with another

officer to take an incident report.

41.    During this meeting, the officer was unable to locate a case number or incident

report regarding the incident or the SANE exam, nor was he able to find the results of the

SANE exam.

42.    Thereafter, the officer generated a case number and provided it to Jane Doe.




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43.    Jane Doe then forwarded emails to the officer, containing screen shots of

messages between Jane Doe and individuals related to her rape/sexual assault, the

same communications that had been previously sent to Schoolfield.

44.    Unbeknownst to Jane Doe, on or about February 16, 2020, the Charleston

County Sherriff’s Office, (“CCSO”) had picked up Jane Doe’s SANE kit (P1132505109)

from MUSC and was given an OCA #2020-003561.

45.    On or about July 12, 2021, CCSO destroyed Jane Does’ SANE kit without Jane

Does’ knowledge or consent.

46.    Jane Doe, by and through her legal representatives requested that the City and/or

NCPD investigate (internally or criminally) to determine the reasons for the gross

negligence of undertaking an investigation and NCPD’s utter failure to take the simplest

measures to investigate and preserve evidence in this matter. These requests were

denied.

47.    On or about September 8, 2022, NCPD finally conducted a photo lineup

where Jane Doe positively identified her assailants.

48.    On March 7, 2023, Jane Doe was advised by NCPD that the case was at an

impasse due to “insufficient evidence”.

49.    During this entire relevant time period, Jane Doe would never receive any calls,

support, voluntary updates, or justice from Tri-County S.P.E.A.K.S., MUSC, CCSO, City

of North Charleston, NCPD, or any victim’s advocate group. Rather, she was specifically

encouraged by Defendants NOT to reach out and that she would be contacted once there

was a development.




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                           FOR A FIRST CAUSE OF ACTION:
          (Gross Negligence / Recklessness / Willful & Wanton Disregard for the
                                  Rights of Jane Doe)

50.    At this time, Plaintiff would reincorporate and reallege the allegations contained in

Paragraphs 1 through 49 as if they were fully repeated herein.

51.    At all relevant times hereto, the Defendants affirmatively undertook and owed a

duty of care to Plaintiff to follow all internal policies and procedures, directives, and/or

applicable municipal and state regulation(s) with respect to investigating known violent

crimes, including specifically, the rape of Jane Doe.

52.    At all relevant times hereto, the Defendants undertook and were under a legal

duty to promptly and thoroughly conduct an investigation of Jane Doe’s rape in order to

preserve her right to seek legal recourse against her attackers, to ensure the safety of the

community, and to prevent future attacks by the perpetrators.

53.    At all relevant times hereto, Defendants undertook and were under a legal duty to

investigate and arrest known violent criminals for acts of violence against other members

of the community when there exists probable cause for same.

54.    At all relevant times hereto, Defendants undertook and were under a legal duty to

maintain records of criminal complaints, investigation notes, and to ensure that critical

evidence was properly stored and secured for the use in future prosecution of any related

crimes.

55.    Furthermore, the Defendants affirmatively undertook and were under a legal duty

to protect and preserve Plaintiff’s property, specifically, the medical specimen provided

by Plaintiff in the form of a SANE kit, so as to preserve her right to seek legal recourse

against her attackers.




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56.    The aforementioned legal duties affirmatively undertaken and owed to Jane Doe

by the Defendants were legal requirements of the Defendants, whether imposed by

state or municipal regulation, and/or by the Defendants’ internal written policies and

procedures and/or the voluntary undertaking of Defendants by and through their agent(s)

and/or employee(s).

57.    The aforementioned legal duties were not subject to the discretion of Defendants,

nor the discretion of its agent(s) and/or employee(s).

58.    Defendants took on and falsely led the Plaintiff to reasonably believe the incident

was being investigated, but by and through their agent(s) and/or employee(s) breached

their legal duties in the following particulars, by way of example, and without limitation:

          a. Failing to properly investigate citizen complaints of violent crime, including

              and specifically, the rape of Jane Doe;

          b. In failing follow up on leads regarding the identity of Jane Doe’s rapists, or

              to communicate with the victim, Jane Doe;

          c. In failing to arrest suspect(s) for the rape of Jane Doe based upon credible

              information reported by the victim which would have constituted probable

              cause;

          d. In failing to abide by, or to act in accordance with, all applicable municipal

              or state regulation(s) concerning the investigation of violent crimes and/or

              any internal written policies and procedures governing same;

          e. Failing to have qualified and experienced detectives investigating claims of

              sexual abuse;




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           f. Failing to truthfully and accurately communicate the status of the

                investigation to the victims of the crime;

           g. Failing to respond to allegations with the utmost seriousness and urgency;

           h. Failing to abide by internal policies and or applicable law(s) and

                regulation(s) regarding:

                    i. The proper documentation of an investigation,

                   ii. Conducting proper interviews and investigations of claims of violent

                       crime;

                  iii. The proper handling of evidence so as to avoid its destruction; and,

                  iv. Avoiding     concealment,       evasion,    or   misrepresentation     in

                       communications with the victims of sexual assault.

           i.   In advising Plaintiff that her property—a medical specimen in the form of a

                SANE kit—was being preserved, protected, and cared for by Defendants or

                agents of Defendants so as to protect her right to seek recourse against her

                attackers;

           j.   In otherwise acting or failing to act in a grossly negligent, criminally

                negligent, and/or reckless manner; and,

           k. In intentionally acting or failing to act with a willful and wanton disregard for

                the safety and lives of others, including specifically, Jane Doe.

59.    As a direct and proximate result of the Defendants’ breach of their legal duty by

and through their action(s) and/or omission(s) as described herein, the positively

identified perpetrators were never charges and Jane Doe was seriously and permanently

injured.




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                       FOR A SECOND CAUSE OF ACTION:
 (Negligent Hiring, Supervision, Training and Entrustment as to The City of North
                                    Charleston)

60.    At this time, Plaintiff would reincorporate and reallege the allegations contained in

foregoing Paragraphs as if they were fully repeated herein.

61.    At all relevant times hereto, the Defendant, by virtue of previous notice, took on

and owed a duty of care to Plaintiff to follow all internal policies and procedures,

directives, and/or applicable municipal and state regulation(s) with respect to the hiring,

retention, and supervision of its detectives.

62.    Defendants, by and through their agents and/or employee(s), breached this duty

by acting in a grossly negligent manner, reckless manner, or such a manner as evidences

a willful and wanton disregard for the rights of others, including:

          a. Using strategies that disproportionately impact African Americans, in

              violation of federal law, including Title VI and its implementing regulations.

              (28 C.F.R. §§ 42.101-112)

          b. Failing to make reasonable modifications to their practices regarding

              individuals with disabilities, in violation of Title II;

          c. Failing to address systemic deficiencies in policies, training, supervision,

              discipline, control, and accountability structures despite being aware of

              these structural challenges for many years;

          d. Engaging in a pattern or practice of discrimination, through its use of

              strategies and other practices in violation of Title VI, which prohibits police

              practices that create an unjustified disparate impact based on race and

              other demographic factors;




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    e. Treating African Americans victims and community differently than people

         of other racial or economic backgrounds;

    f. Racial disparities persist relevant to whether an officer reports a complaint.

         These rates indicate that officers apply a lower threshold of suspicion when

         dealing with African Americans victims;

    g. Failing to investigate and address instances of officer conduct involving the

         use of racial slurs and other derogatory language to address or refer to

         African Americans;

    h. Failing to supervise officers/detectives effectively or hold them accountable

         for misconduct, contributing to a pattern of police actions that violate the

         Constitution and federal and state law;

    i.   Failing to adequately train and supervise its officers;

    j.   Failing to guide officers’ activity through effective policies and training;

    k. Failing to collect and analyze reliable data to supervise officer enforcement

         activities;

    l.   Failing to implement early intervention system to identify officers who may

         benefit from additional training or other guidance to ensure that they do not

         commit constitutional violations;

    m. Failing to identify, correct, and deter misconduct that contributes to a pattern

         or practice of violating the Constitution and federal and state laws; and,

    n. In otherwise acting in a grossly negligent manner with respect due care

         under the circumstances to properly train; supervise; discipline; and hire its

         employees, agents, and personnel;




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63.      Defendant knew or should have known that the continued employment of their

       agents created an undue risk of harm to the public.

64.      Defendant knew or should have known that they themselves were grossly

       negligent in hiring, supervising, or training the employees.

65.      As a direct and proximate result of Defendants’ acts and/or omissions, Plaintiff’s

      Constitutional rights were violated, and she suffered damages including pain and

      suffering, loss of enjoyment of life, great mental anguish, emotional distress, loss of

      income, loss of earning opportunities, and any other damages which may be shown

      during the pendency of this action.

                         FOR A THIRD CAUSE OF ACTION:
 (Negligent Infliction of Emotional Distress as to Paul Schoolfield invdividually)

66.      At this time, Plaintiff would reincorporate and reallege the allegations contained in

      foregoing paragraphs as if they were fully repeated herein.

67.      Defendant’s gross negligence, criminal negligence and recklessness as herein

  has forever barred Plaintiff from being able to seek justice against her rapists, as all

  forensic evidence has since been destroyed thus causing severe emotional distress

  and mental injury.

68.      The Defendant knew or should have known that his unreasonable conduct risked

      causing the Plaintiff such emotional distress or mental injury.

69.      Defendant’s conduct was so extreme and outrageous as to exceed all possible

      bounds of decency and is regarded as atrocious and utterly intolerable in a civilized

      community.




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70.      Defendant’s actions and/or omissions caused the Plaintiff severe emotional

      distress, the severity of which was to such a degree that no reasonable person could

      be expected to endure it.

                            FOR A FOURTH CAUSE OF ACTION
                    (Violation of South Carolina Constitution Art. 1 § 3)

71.      The foregoing allegations are repeated herein as if fully set forth verbatim.

72.      The Defendants did deprive Plaintiff of her rights guaranteed under the South

      Carolina Constitution pursuant to Article 1 §3’s guarantee of due process and equal

      protection under the laws.

73.      Defendants did deprive Plaintiff of her due process rights by intentionally

      disregarding her allegations of rape; their refusal to investigate same in contravention

      to public policy, and allowing the destruction of Plaintiff’s property, a SANE kit medical

      specimen, which was evidence crucial to the prosecution of the alleged rapist.

74.      As a direct and proximate result of Defendants’ acts and omissions, Plaintiff

      suffered damages including pain and suffering, great mental anguish, mental distress,

      loss of enjoyment of life, loss of income, loss of earning opportunities, and any other

      damages which may be shown during the pendency of this action.

                              FOR A FIFTH CAUSE OF ACTION
                                     (42 U.S.C. § 1983)

75.      The foregoing allegations are repeated herein as if fully set forth verbatim.

76.      At all relevant times as alleged in the Complaint, the Plaintiff was a citizen of the

United States, subject to the jurisdiction thereof, and entitled to all rights, privileges, or

immunities secured by the U.S. Constitution.

77.      At all relevant times hereto and as alleged more fully herein, the Defendants were

acting under the color of all applicable statute(s), ordinance(s), regulation(s), custom(s),


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or usage(s) of the State of South Carolina in their dealings, communications, acts and/or

omissions with respect to the Plaintiff as alleged more fully herein.

78.      The Defendants, individually and acting in concert, in their actions and/or

omissions, as more fully alleged and described above, deliberately deprived Plaintiff of

her rights, privileges, or immunities secured by the Constitution and laws of the United

States and the State of South Carolina, including by way of example and without

limitation: Plaintiff’s Fourteenth Amendment right to due process of law and equal

protection of the laws as more fully described herein.

79.      As a direct and proximate result of Defendants’ acts and/or omissions, Plaintiff’s

      Constitutional rights were violated, and she suffered damages including pain and

      suffering, loss of enjoyment of life, great mental anguish, emotional distress, loss of

      income, loss of earning opportunities, and any other damages which may be shown

      during the pendency of this action.

                                            DAMAGES:

80.      At this time, Plaintiff would reincorporate and reallege the foregoing allegations as

      if they were fully repeated herein.

81.      As a direct and proximate result of Defendants’ tortious conduct as herein

      described, Plaintiff suffered and continues to suffer from extreme emotional fear,

      suffering, mental anguish, and continuing medical and other special damages.

82.      Plaintiff has suffered, is suffering, and upon information and belief, will continue to

      suffer severe mental anguish, loss of enjoyment of life, and has been otherwise injured

      and damaged, all to her detriment.




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WHEREFORE, Plaintiff prays for judgment in such amounts as may be proven at trial,

including actual and punitive damages, against the Defendants on the aforementioned

causes of action, along with the costs and disbursements of this action, to include an

award of reasonable attorney’s fees, and for such other and further relief as this Court

deems just and proper, whether such remedy may lie at law or in equity.

   Respectfully submitted this 8th day of September, 2023.


                             By:      SLOTCHIVER & SLOTCHIVER, LLP

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